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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE WESTERN DISTRICT OF NORTH CAROLINA ASHEVILLE, No
Civil Action No. 1:21-cv-305-MR-WCM MAR Q 4 2904

U.S. DISTRICT Cou
RT
W. DISTRICT OF N.C.

MOTION TO RE-DESIGNATE
EXPERT WITNESSES

BROTHER T. HESED-EL,

Plaintiff, .
Vv.

ROBIN BRYSON, et al,

Defendants.

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COMES NOW, Plaintiff Brother T. Hesed-E] (“Plaintiff”), pursuant to Rule 26 of the
Federal Rules of Civil Procedure, and hereby respectfully moves the Court to grant him leave to
change the designation of his expert witnesses. Pursuant to Local Rule 7.1, the parties have

consulted on this matter and the defendants oppose this motion.

WHEREFORE, Plaintiff prays that the Court will grant this motion.

Respectfully, this 23 day of Sha’ban in the year 1445 A.H.

lel Brother 7. Neascl-Cb ALL.
Bro. T. Hesed-EL, Plaintiff pro se
c/o TAQI EL AGABEY MANAGEMENT
30 N Gould St, Ste. R, Sheridan, WY 82801 _
Ph: (762) 333-2075 / teamwork3@email.com

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that this MOTION TO RE-DESIGNATE EXPERT
WITNESSES has been sealed in an envelope with sufficient postage affixed thereon, and deposited

into the exclusive custody of the United States Post Office, to ensure delivery to:

Robin Bryson and Mission Hospital Inc.
“o Attorney Daniel H. Walsh
ROBERTS & STEVEN, P.A.

Post Office Box 7647
Asheville, North Carolina 28802
dwalsh@roberts-steven.com

March 4, 2024
[4l Brother 7. Nesed (Fb, ALE
Bro, T. Hesed-El, Plaintiff pro se

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